Case 2:11-cv-01360-AHM-E Document 27 Filed 12/07/11 Page 1 of 1 Page ID #:476



   1
   2
   3
   4
   5
   6
   7
   8
                              UNITED STATES DISTRICT COURT
   9
                             CENTRAL DISTRICT OF CALIFORNIA
  10
  11   SAMUEL BERNAL,                      )          CASE NO. CV11-01360-AHM (Ex)
                                           )
  12               Plaintiff(s),           )          ORDER DISMISSING CIVIL ACTION
                                           )          BY VIRTUE OF SETTLEMENT
  13         v.                            )
                                           )
  14   UNITED PARCEL SERVICE, INC., et     )
       al.,                                )
  15                                       )
                   Defendant(s).           )
  16                                       )
       ____________________________________)
  17
  18          The Court having been advised by the parties that the above-entitled action
  19   has been settled;
  20          IT IS THEREFORE ORDERED that this action is dismissed without
  21   prejudice to the right, upon good cause shown within 30 days, to request a status
  22   conference be scheduled if settlement is not consummated.
  23
  24          IT IS SO ORDERED.
  25   Date: December 7, 2011                 _____________________________
                                                   A. Howard Matz
  26                                               United States District Court Judge
  27   JS-6
  28
